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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 8   MYRIAM ZAYAS,

 9                              Plaintiff,                  Case No. C24-1088-TL

10          v.                                              ORDER

11   NATALIE GREEN, et al.,

12                              Defendants.

13

14          Plaintiff has filed an application to proceed in forma pauperis (“IFP”) in the above-

15   entitled action. (Dkt. # 1.) Plaintiff does not appear to have funds available to afford the $405.00

16   filing fee. Accordingly, Plaintiff’s application to proceed IFP (dkt. # 1) is GRANTED. However,

17   the Court recommends the complaint be reviewed under 28 U.S.C. § 1915(e)(2)(B) before

18   issuance of summons. See, e.g., Zayas v. Green, C24-624-JNW; Zayas v. Rollins, C24-764-

19   RSM; Zayas v. Howard, et al., C24-716-KKE. Plaintiff shall note that leave to proceed as a

20   pauper does not necessarily entitle Plaintiff to a waiver of any other cost(s) of litigation.

21          The Clerk is directed to send copies of this Order to Plaintiff and to the Honorable Tana

22   Lin.

23          //




     ORDER - 1
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 1         Dated this 25th day of July, 2024.

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                                                 A
 3                                               MICHELLE L. PETERSON
                                                 United States Magistrate Judge
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